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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                        CASE NO.: 23-CV-60103-DIMITROULEAS


  JONATHAN LEOPOLDO,

         Plaintiff,

  vs.

  BROWARD COUNTY, FLORIDA

         Defendant.

                                                /

                 ORDER GRANTING DEFENDANT’S MOTION TO DISMISS

         THIS CAUSE is before the Court on Defendant Broward County, Florida (“The

  County”)’s Motion to Dismiss Count I of Plaintiff’s Amended Complaint (“The Motion”) [DE

  18]. The Court has carefully reviewed the Motion [DE 18], Plaintiff Jonathan Leopoldo

  (“Plaintiff”)’s Response [DE 20], Defendant’s Reply [DE 21], and is otherwise fully advised in

  the premises. For the reasons stated herein, the Court grants the Motion to Dismiss.


         I.      Background


         Plaintiff commenced the instant action on January 20, 2023, bringing the following

  claims against the County: violation of the Florida Private Whistleblower Act, Fla. Stat. § 448.01

  (Count I); retaliation under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.

  (Title VII”) and the Florida Civil Rights Act of 1992, Fla. Stat. § 760, et seq. (“FCRA”) (Count

  II); and defamation (Count III). See [DE 1]. The County moved to dismiss the claims pursuant to

  rule 12(b)(6) of the Federal Rules of Civil Procedure. See [DE 10]. On April 21, 2023, the Court



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  granted the motion to dismiss, dismissed Counts I and III with prejudice, dismissed Count II

  without prejudice, and gave Plaintiff leave to amend. See [DE 13].

          On May 5, 2023, Plaintiff filed an Amended Complaint alleging a violation of the Florida

  Public Whistleblower Act, § 112.3187 (Count I), retaliation under Title VII (Count II), and

  retaliation under the FCRA (Count II). See [DE 14]. The Amended Complaint claims that

  Plaintiff was a substance abuse caseworker, employed by the County, until he was terminated on

  May 31, 2022. Id. at ¶ 7. While employed, Plaintiff refused to participate in and disclosed

  various violations of law under the Florida Administrative Code and Florida Statutes. Id. at ¶¶ 9–

  19. As to Count I specifically, the Complaint alleges that Plaintiff reported all his disclosures to

  the Florida Commission on Human Relations, but the commission did not investigate due to lack

  of jurisdiction. Id. at ¶ 21.

          Pursuant to an investigation by the Equal Employment Opportunity Commission

  (EEOC), Plaintiff submitted an affidavit in which he described personal knowledge of Black

  employees being terminated disproportionately to their white counterparts. Id. at ¶ 23. Plaintiff

  claimed that multiple coworkers engaged in discriminatory or harassing behavior and that this

  behavior went unpunished by the County. Id. Plaintiff objected to the treatment and termination

  of a Black employee of the County in violation of the County’s anti-discrimination/harassment

  policy, Title VII, and the FCRA. Id. at ¶ 27.

          Plaintiff seeks to be reinstated to his former or an equivalent position. Id. at ¶ 42. Plaintiff

  also seeks lost wages and benefits, compensatory damages for mental anguish, and attorney’s

  fees and costs. Id. at ¶ 42, 47, 52.

          The County now moves to dismiss Count I of Plaintiff’s Amended Complaint for failure

  to exhaust administrative remedies. See [DE 18].



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          II.     Legal Standard

          To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id.

  (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when the plaintiff pleads

  factual content that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.” Id. This plausibility determination is “a context-specific task that

  requires the reviewing court to draw on its judicial experience and common sense.” Id. at 679.

  “But where the well-pleaded facts do not permit the court to infer more than the mere possibility

  of misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled

  to relief.’” Id. (brackets in original) (quoting Fed. R. Civ. P. 8(a)(2)). “The Supreme Court has

  employed a ‘two-pronged approach’ in applying the foregoing principles: first, a reviewing court

  should eliminate any allegations in the complaint that are merely legal conclusions; and second,

  where there are well-pleaded factual allegations, ‘assume their veracity and then determine

  whether they plausibly give rise to an entitlement to relief.’” Boyd v. Warden, Holman

  Correctional Facility, 856 F. 3d 853, 864 (11th Cir. 2017) (quoting Iqbal, 556 U.S. at 679). “In

  analyzing the sufficiency of the complaint, [the Court] limit[s] [its] consideration to the well-

  pleaded factual allegations, documents central to or referenced in the complaint, and matters

  judicially noticed.” La Grasta v. First Union Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004).

          Additionally, a Rule 12(b)(1) motion may be in the form of a “facial attack” on the

  complaint, which “requires the court merely to look and see if [the] plaintiff has sufficiently

  alleged a basis of subject matter jurisdiction, and the allegations in his complaint are taken as

  true for the purposes of the motion.” Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990)

  (citations omitted). Or, the motion may take the form of a “factual attack,” which challenges “the



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  existence of subject matter jurisdiction in fact, irrespective of the pleadings.” Id. at 1529.

  Because a factual Rule 12(b)(1) motion challenges the trial court's power to hear the claim, the

  court must closely examine the plaintiff's factual allegations and “is free to weigh the evidence

  and satisfy itself as to the existence of its power to hear the case.” Id. The court is not limited to

  the allegations contained in the complaint, and it may consider materials outside the pleadings to

  determine whether it has jurisdiction. Id. “In short, no presumptive truthfulness attaches to

  plaintiff's allegations, and the existence of disputed material facts will not preclude the trial court

  from evaluating itself the merits of jurisdictional claims.” Id.

          III.    Discussion

          In Count I, Plaintiff states that the County violated the Florida Public Whistleblower Act

  when it terminated Plaintiff’s employment after Plaintiff had reported multiple violations or

  suspected violations of law. See [DE 14] at ¶ 36. In its Motion to Dismiss, the County argues that

  Plaintiff’s whistleblower claim must be dismissed because Plaintiff failed to exhaust

  administrative remedies in accordance with the Florida Public Whistleblower Act, the Broward

  County Code of Ordinances § 26-6, and the Broward County Administrative Code §§ 19.66–

  19.68. 1 See [DE 18]. The Court agrees with the County.

          The Florida Public Whistleblower Act prohibits retaliation against whistleblowers in

  public employment. Wagner v. Lee Cnty., 678 F. App'x 913, 921 (11th Cir. 2017). The act states

  that a state agency may not take adverse action against an employee in retaliation for the

  employee’s disclosure of the agency’s misconduct. Id. (citing Fla. Stat. § 113.3187). In the event

  of wrongful retaliation on the part of the state agency, the employee may “file a complaint with



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   The Court previously took judicial notice of: Broward County Code of Ordinance § 26-6 [DE 16-1]; Broward
  County Ordinances 93-26 and 93-50 [DE 16-2]; and Broward County Administrative Code §§ 19.66–19.68 [DE 16-
  3]. See [DE 22].

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  the appropriate local governmental authority if that authority has established by ordinance an

  administrative procedure for handling such complaints.” Fla. Stat § 112.3187(8)(b). In other

  words, the Florida Public Whistleblower Act requires plaintiffs to file complaints with their

  appropriate local government authority before commencing a civil action if their local

  government authority has established a procedure for resolving such complaints. Lamb v. Walton

  Cnty. Sch. Bd., No. 3:21-CV-375-MCR-EMT, 2021 WL 4992758, at *2 (N.D. Fla. Aug. 3,

  2021). The lack of specificity in the act suggests that the legislature intended “to leave the details

  of the procedure up to the individual government entities.” Id.

          Section 26-6(7) of the Broward County Code of Ordinances and Sections 19.66–19.68 of

  the Broward County Administrative Code establish the administrative procedure for resolving

  these types of complaints. Section 19.68(a) of the Broward County Administrative Code states,

  in relevant part:

          . . . an employee or applicant who believes that retaliation prohibited by this section
          has occurred may, within sixty (60) days after the alleged prohibited action has
          taken place, file a written complaint with the Assistant to the County Administrator
          designated by the County Administrator to receive such complaints. The complaint
          must describe, at a minimum and with specificity, the retaliatory conduct
          complained of and the complainant’s conduct which he or she believes brings him
          or her under the protection of Subsection 26-6-(b) of the Code of Ordinances.

  Similarly, Section 26-6(7) states, in relevant part, “within sixty (60) days after the action

  prohibited by this section, any employee or applicant for employment protected by this section

  may file a complaint with the county administrator or his/her designee.” Broward Cty. Code §

  26-6(7). Broward County’s whistleblower complaint procedure involves review of complaints by

  an impartial panel, which “must make findings of fact and conclusions of law for a final decision

  by the county administrator.” Id.




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         Here, Plaintiff alleges that he disclosed the alleged violations to his supervisors and

  others including the Broward Addiction Recovery Center Director, human resource specialists,

  the Human Resource Director, the Substance Abuse Advisory Board President, and a Substance

  Abuse Advisory Board member. See [DE 14]. Though it is apparent that Plaintiff went through

  multiple avenues of reporting, Plaintiff does not allege that he reported to the one entity deemed

  necessary under the Broward County Code of Ordinances and the Broward County

  Administrative Code: the county administrator.

         In his Response, Plaintiff argues that many of the individuals he reported to are

  “appropriate government officials” in accordance with Fla. Stat. § 112.3187(6). See [DE 20] at p.

  4. However, Plaintiff fails to address § 112.3187(8)(b), which governs the specifics of seeking

  remedies and bringing a civil action under the Florida Public Whistleblower Act. Nor does

  Plaintiff address Broward County Code of Ordinances § 26-6 and Broward County

  Administrative Code §§ 19.66–19.68. See [DE 20]. Additionally, unlike in Counts II and III, in

  which Plaintiff alleges to have exhausted all administrative remedies, [DE 14] at ¶ 47, 52,

  Plaintiff does not make these same allegations as to Count I of the Amended Complaint.

  Accordingly, the Court grants the County’s motion to dismiss Count I of the amended complaint

  for failure to exhaust administrative remedies.

         IV.       Conclusion

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. The Motion to Dismiss [DE 18] is GRANTED.

         2. Count I is DISMISSED for failure to exhaust administrative remedies.

         3. Defendant shall file an answer to the remaining counts within fourteen (14) days of

               the date of this order.



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         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 12th day of July, 2023.




  Copies furnished to:

  Counsel of Record




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